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        Attorneys for Plaintiff




                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF OREGON

                                          AT   PORTLAND

JANET M. BENNETT, PH.D.,                                Civil Action No.

                                PLAINTIFF,
                                                        COMPLAINT FOR BREACH OF
        v.                                              CONTRACT
UNITED STATES LIABILITY
INSURANCE GROUP, a Pennsylvania                         (Jury Trial Demanded)
corporation,
                                DEFENDANT.



                 Plaintiff Janet M. Bennett, Ph.D. alleges:


                                               PARTIES
                                                   1.

                 Plaintiff Janet M. Bennett, Ph.D. ("Ms. Bennett") is an individual and a resident

of the state of Oregon.
                                                  2.

                 United States Liabilty Insurance Group ("Defendant" or "USLIG") is an


Pai: 1 - COMPLAINT FOR BREACH OF CONTRACT
DWT 22041114v3 0050033-004075                                                 DAVIS WRIGHT TREMA LLP
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insurance company organized under the laws of the state of Pennsylvania with its principal place

of business in Wayne, Pennsylvania. USLIG does business in the state of Oregon and has a
registered agent in this jurisdiction.
                  This is an action for breach of contract arising from Defendant's failure to defend
Plaintiff   pursuant to defense obligations under an applicable insurance policy, referenced below.
                                      VENUE AND JURISDICTION
                                                     3.

                  This Cour has jurisdiction pursuant to 28 U.S.C. § 1332 because the parties are
citizens of different states and the amount in controversy exceeds $75,000, exclusive of interest
and costs.
                  This Cour has personal jurisdiction over Defendant pursuant to Fed. R. Civ. P.
4(k)(1) and Oregon R. Civ. P. 4 A(4) and 4 1.
                                           CAUSE OF ACTION

                                  (Breach of Contract - Failure to Defend)
                                                     4.

                   From March 19,2009 through March 19,2013, USLIG issued a business liability

insurance policy providing coverage to Ms. Bennett. This coverage included Policy No.

 SP1017323A for the period from March 19,2010 to March 19,2011, with a retroactive date of
March 19, 2009. (See Ex. A, Plaintiffs' copy of the policy attached and incorporated by
reference. )

                                                     5.

                   The USLIG policy obligates USLIG to provide a defense to Plaintiff for any
 claim to which the insurance applies even if the allegations of the claim are groundless, false or
 fraudulent.
                                                     6.

                   The policy provides for reimbursement of reasonable expenses incured by the
 insured to attend proceedings.

 Paize 2 - COMPLAINT FOR BREACH OF CONTRACT
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                                                   7.

                 The policy applies to claims first made against an insured during the policy
period.
                                                   8.

                 Milton Bennett sued Ms. Bennett on August 24, 2010. (See Ex. B, a copy of the
Amended Complaint attached and incorporated by reference.)
                                                   9.

                 Milton Bennett also provided the complaint to the Oregon Deparment of Justice,

which opened an investigatic:m into Ms. Bennett and the non-profit organization she operates.
                                                  10.

                  The policy applies to any claim for wrongful acts, or personal injur arising out of


wrongful acts.
                                                   11.

                  A wrongful act means any actual or alleged error, omission or negligent act by an

insured or any person for whom the insured is legally liable in the rendering of professional
services.
                                                   12.

                  Ms. Bennett herself is the named insured.
                                                   13.

                  Professional services are those rendered to others for a fee solely in the conduct of

the insured's profession.

                                                   14.

                  Ms. Bennett's profession involves work as a Training Specialist and Seminar
Conductor.
                                                   15.

                  The Complaint was tendered to USLIG by letter dated September 8, 2010.



 PaQe 3 - COMPLAINT FOR BREACH OF CONTRACT
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                                                         16.

                 Ms. Bennett was forced to retain and reimburse her own defense counsel.
                                                          17.

                 By letter dated April 16,2012, USLIG refused to provide a defense.
                                                          18.

                 USLIG's failure or refusal to provide a defense has resulted in damages of excess

of $175,000 for defense counsel, experts, and other defense costs, in an amount to be proved at
triaL.

                                                          19.

                 Ms. Bennett ultimately prevailed in her defense of the Complaint.
                                                         20.

                 One or more of the claims in the Complaint is covered by the USLIG policy as
potentially alleging one or more wrongful acts, including, but not limited to:
                          a) Invoicing clients of       Ms. Bennett's professional services through a non-

profit entity, effectively assigning income from professional services to the entity, thereby

adversely affecting the tax status of the entity;
                          b) Mischaracterizing fuds derived from Ms. Bennett's professional

services as deferred compensation due to Ms. Bennett from the non-profit, contrary to the
requirements of the Internal Revenue Code and without approval from the board.
                                                          21.

                 USLIG had a contractual duty to provide a full defense to Ms. Bennett under the

USLIG policy.
                                                          22.

                 USLIG is obligated to pay all of Ms. Bennett's defense costs and certain
reasonable expenses.

                                                          23.

                 Ms. Bennett has satisfied all conditions precedent (if any) to bringing this action

Paiie 4 - COMPLAINT FOR BREACH OF CONTRACT
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     for breach of contract.
                                                                24.

                       USLIG has breached its defense obligations under USLIG's policy by failing and

     refusing to defend Ms. Bennett.
                                                                25.

                       Ms. Bennett has been damaged in an amount to be proven at triaL. Ms. Bennett is

     entitled to an award of attorneys' fees pursuant to ORS 742.061, reasonable costs and

     disbursements incured herein, and prejudgment interest.

                                                     PRAYER FOR RELIEF
                       NOW, THEREFORE, Plaintiff                prays for relief   as follows:

                       1. On the First Cause of Action for Breach of Contract - Failure to Defend,

     for an award of damages against USLIG in an amount to be proved at triaL.

                       2. An award of                attorneys' fees on claims pursuant to ORS 742.061;

                       3. For prejudgment interest and reasonable costs; and

                       4. For other relief as the Cour deems appropriate.

                                                   DEMAND FOR JURY TRIAL
                       Plaintiff demands a trial by jury.

                       DATED this 5th day of            September, 2013.




                                                       DAVIS WRGHT TREMAINE LLP



                                                       By
--                                                          Lawrence B. Burke, OSB #89208
                                                            Tim Cunnngham, OSB # #100906
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     Pal!e 5 - COMPLAINT FOR BREACH OF CONTRACT
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